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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                       ***
      UNITED STATES OF AMERICA,
4
                           Plaintiff,
5                                                         2:18-cr-0363-JAD-EJY
      vs.                                                 ORDER
6     JEREMI FAJARDO,
7                          Defendant.
8

9           Before the Court is Jeremi Fajardo’s Sealed Motion to Reopen Detention Hearing Due to Changed
10   Circumstances from Defendant’s Covid-19 Diagnosis (ECF No. 71).
11          Temporary General Order 2020-05 authorizes the use of video conferencing (or telephone
12   conferencing if video conferencing is not reasonably available) with the consent of the defendant after
13   consultation with counsel.
14          Accordingly,
15          IT IS HEREBY ORDERED that any opposition to Sealed Motion to Reopen Detention Hearing
16   Due to Changed Circumstances from Defendant’s Covid-19 Diagnosis (ECF No. 71) must be filed on or
17   before October 27, 2020.     No reply necessary.
18          IT IS HEREREBY ORDERED that a video conference hearing is scheduled for 9:30 AM, October
19   29, 2020, in Courtroom 3D before Judge Cam Ferenbach.
20          The parties are directed to file a Joint Status Report (1) advising whether the defendant consents
21   to proceed with the hearing as scheduled but using video conferencing, and (2) either (a) explaining why
22   the hearing cannot be further delayed without serious harm to the interests of justice, or (b) advising
23   whether the parties agree to a continuance, indicating the maximum length of time for such a continuance.
24   The Joint Status Report for the hearing must be filed by 12:00 PM, October 28, 2020.
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1           IT IS ORDERED that defense counsel shall provide all necessary documents to defendant in

2    advance of the hearing.

3           IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom Administrator,

4    Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with information on how defendant will participate

5    in the video conference by 12:00 PM, October 28, 2020. Defendant will remain at Nevada Southern

6    Detention Center.

7           IT IS FURTHER ORDERED that Defense/AUSA shall file any necessary signed documents at

8    least ONE (1) Day prior to the scheduled hearing consistent with General Order 2020-05.

9           IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

10          INSTRUCTIONS FOR VIDEO CONFERENCE HEARING

11          Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

12   to the participants email provided to the Court.

13

14          •       Log on to the call ten (10) minutes prior to the hearing time.

15          •       Mute your sound prior to entering the hearing.

16          •       Do not talk over one another.

17          •       State your name prior to speaking for the record.

18          •       Do not have others in the video screen or moving in the background.

19          •       No recording of the hearing.

20          •       No forwarding of any video conference invitations.

21          •       Unauthorized users on the video conference will be removed.

22

23          DATED this 20th day of October, 2020.
                                                                  _________________________
24                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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